 Case 3:22-cv-00883-X-BT Document 43 Filed 08/13/24          Page 1 of 2 PageID 615



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 LUIS BENJAMIN LOPEZ,                      §
                                           §
              Plaintiff,                   §
                                           §
 v.                                        §      Civil Action No. 3:22-CV-0883-X-BT
                                           §
 DIRECTOR, TDCJ-CID, et al.,               §
                                           §
               Defendant.                  §


          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE
                            JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case.      (Doc. 41).   Magistrate Judge Rebecca Rutherford

recommends dismissing Petitioner Luis Benjamin Lopez’s habeas petition without

prejudice for failure to exhaust administrative remedies. No objections were filed.

The District Court reviewed the proposed findings, conclusions, and recommendation

for plain error.   Finding none, the Court ACCEPTS the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge.          Accordingly, the Court

DISMISSES WITHOUT PREJUDICE Petitioner Luis Benjamin Lopez’s habeas

petition for failure to exhaust state remedies.




                                           1
Case 3:22-cv-00883-X-BT Document 43 Filed 08/13/24   Page 2 of 2 PageID 616



    IT IS SO ORDERED this 13th day of August, 2024.




                                  ____________________________________
                                  BRANTLEY STARR
                                  UNITED STATES DISTRICT JUDGE




                                    2
